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 8                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 9                                      NORTHERN DIVISION
10   In re                                        Case No. 9:18-bk-11889-DS
11   CHARLES L. DUFF,                             Chapter 7
12                                      Debtor.
                                                  ORDER APPROVING APPLICATION TO
13                                                EMPLOY REAL ESTATE BROKER AND
                                                  TO ENTER INTO EXCLUSIVE LISTING
14                                                AGREEMENT
15           The court having reviewed and considered the “Application to Employ Real Estate
16   Broker and to Enter Into Exclusive Listing Agreement” (the “Application,” Docket No.
17   313) filed by chapter 7 trustee Jeremy W. Faith (the “Trustee”) and the record in this
18   case, and good cause appearing;
19           IT IS HEREBY ORDERED that the Application is approved.
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24   Date: October 18, 2022

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